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From:            BOVINO, GREGORY K
To:              BULLOCK, CHRISTOPHER S
Subject:         RE: Lateral Reassignment Request (Draft)
Date:            Friday, May 25, 2018 1:24:30 PM


Oh jeez. DELETE!!!!


From: BULLOCK, CHRISTOPHER S
Sent: Friday, May 25, 2018 1:23 PM
To: BOVINO, GREGORY K <GREGORY.K.BOVINO@CBP.DHS.GOV>
Subject: RE: Lateral Reassignment Request (Draft)

Chief Bovino.




NLL All Hands Meeting.




NLL Sector HQ.




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Chris

From: BOVINO, GREGORY K
Sent: Friday, May 25, 2018 6:48 AM
To: BULLOCK, CHRISTOPHER S <CHRISTOPHER.S.BULLOCK@CBP.DHS.GOV>
Subject: RE: Lateral Reassignment Request (Draft)

Jeez. We’ll fix it


From: BULLOCK, CHRISTOPHER S
Sent: Thursday, May 24, 2018 6:20 PM
To: BOVINO, GREGORY K <GREGORY.K.BOVINO@CBP.DHS.GOV>
Subject: RE: Lateral Reassignment Request (Draft)

I am told that Pedregon was DC over Ops Support/Mission Readiness and Willie Hitchcock was
Ops. Not sure if that changed when Hitchcock left. Looks like Fabrianne Pedregon, wife of
Teresa Pedregon, is an acting Ops Officer over Stonegarden, K-9, Public Affairs, etc. Not sure
how that plays out for you, as I guess one can’t report to the other…directly anyway.

Chris

From: BOVINO, GREGORY K
Sent: Thursday, May 24, 2018 2:52 PM
To: BULLOCK, CHRISTOPHER S <CHRISTOPHER.S.BULLOCK@CBP.DHS.GOV>
Subject: RE: Lateral Reassignment Request (Draft)

It only says “Division Chief” so I guess it’s not specific to operations or support.


From: BULLOCK, CHRISTOPHER S
Sent: Thursday, May 24, 2018 5:38 PM
To: BOVINO, GREGORY K <GREGORY.K.BOVINO@CBP.DHS.GOV>
Subject: RE: Lateral Reassignment Request (Draft)

What did the last announcement say?

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Chris

From: BOVINO, GREGORY K
Sent: Thursday, May 24, 2018 2:25 PM
To: BULLOCK, CHRISTOPHER S <CHRISTOPHER.S.BULLOCK@CBP.DHS.GOV>
Subject: RE: Lateral Reassignment Request (Draft)

Chris,

I’m not sure if I can decide which is which if it’s announcement specific. We want you in operations
and not support. Keep it as you have it – don’t want to mess anything up.

Greg


From: BULLOCK, CHRISTOPHER S
Sent: Thursday, May 24, 2018 4:02 PM
To: BOVINO, GREGORY K <GREGORY.K.BOVINO@CBP.DHS.GOV>
Subject: RE: Lateral Reassignment Request (Draft)

I will do what you want. I just don’t want to put limits on it. I think you get to decide which is
which anyway, no?

Chris

From: BOVINO, GREGORY K
Sent: Thursday, May 24, 2018 6:01 AM
To: BULLOCK, CHRISTOPHER S <CHRISTOPHER.S.BULLOCK@CBP.DHS.GOV>
Subject: RE: Lateral Reassignment Request (Draft)

Chris, this looks good. For the Hiring Flexibilities Memo, you said “Division Chief”. Perhaps you
should put WHICH Division Chief you are looking at so they can’t pull any type of switcharoo and
then you go to ops support. What do you think?

Greg


From: BULLOCK, CHRISTOPHER S
Sent: Wednesday, May 23, 2018 8:47 PM
To: BOVINO, GREGORY K <GREGORY.K.BOVINO@CBP.DHS.GOV>
Subject: Lateral Reassignment Request (Draft)

What say you?




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Christopher S. Bullock
Deputy Patrol Agent in Charge
Tucson Sector Intelligence Unit
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(520) 940-5426 Mobile




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